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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                          UNITED STATES DISTRICT COURT                              September 19, 2022
                           SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                             BROWNSVILLE DIVISION


 JOSE MENDOZA,                                  §
 Individually and on Behalf                     §
 of All Others Similarly Situated,              §
 Plaintiffs                                     §
                                                §
 v.                                             §                Civil Action No. 1:22-cv-128
                                                §
 SHALOM HOME CARE INC.,                         §
 Defendant                                      §



                            ORDER SETTING CONFERENCE

       1.     Counsel shall appear for an initial pretrial conference on:

                            December 2, 2022, at 2:00 p.m.
                          Before the Honorable Ignacio Torteya, III
                               United States Magistrate Judge
                               Second Floor Courtroom No. 1.
                                  United States Courthouse
                                   600 E. Harrison Street
                                   Brownsville, TX 78520

       2.     Within 15 days of receiving this Order, counsel must file a list of all entities that

are financially interested in this litigation, including parent, subsidiary, and affiliated

corporations as well as all known attorneys of record. When a group description is effective

disclosure, an individual listing is not necessary. Underline the names of corporations with

publicly traded securities. Counsel must promptly amend the list when parties are added or

additional interested parties are identified.

       3.     The plaintiff(s) must serve the defendant(s) within 90 days of filing the

complaint. The plaintiff’s failure to file proof of service within that time may result in

dismissal by the Court on its own initiative. See FED. R. CIV. P. Rule 4(m).



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       4.     At least 14 days before the conference, counsel must file a joint case

management plan listing the identities and purposes of witnesses, sources and

types of documents, and other requirements for a prompt and inexpensive

preparation of this case for disposition by motion or trial. See FED R. CIV. P.

Rule 26(f). At least 7 days before the conference, counsel must file a joint

proposed scheduling order for the Court’s consideration.

       5.     The parties shall agree on additional deadlines for completion of pretrial

matters including all expert designation dates and discovery cut-offs as well as dates for

exchanging of initial disclosures if they have not already been completed. By the conference,

counsel will have interviewed their clients and read all relevant documents; readily available

documents will have been exchanged at the plan meeting at the latest. The Court will set a

schedule for initial preparation and may rule on motions pending or made at the conference.

       6.     Counsel in charge of a case must appear at all hearings or conferences. A

motion to appear on behalf of the attorney-in-charge will be granted only upon showing of

good cause, and only if the attorney to be substituted is familiar with the case and has

authority to bind the client. The motion to appear must be ruled on in advance of the hearing

or conference date. Counsel appearing at the conference must have authority to bind the

client and must know the facts. Counsel must have discussed alternative dispute resolution

with their clients and each other; at the conference, the Court will consider whether a

method of ADR is suited to this case. The Court will enter a scheduling order and may rule

on any pending motions at the conference.

       7.     The plaintiff(s), or the party removing this suit from state court, SHALL

SERVE THE OPPOSING PARTY OR PARTIES with copies of this Order Setting

Conference. The parties will be bound by the provisions contained in this Order, the


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papers mentioned in No. 4 above, and the dates set out in the scheduling order to be entered

in this case. Failure to comply with this order may result in sanctions, including dismissal

of the action and assessment of expenses.

      8.     In recognition of the restrictions caused by the COVID-19 Virus, the United

States District Court for the Southern District of Texas in general, and the Brownsville

Division in particular, have entered orders adjusting the conduct of Court business. Please

visit the Court’s web site to ensure that you have the most current information available.1

All counsel appearing before the Court must comply with the Federal Rules of Civil

Procedure, and the Local Rules of the United States District Court for the Southern District

of Texas.

      SIGNED on this 19th day of September, 2022, at Brownsville, Texas.




                                         ________________________________
                                         Ignacio Torteya, III
                                         United States Magistrate Judge




1 See https://www.txs.uscourts.gov/ (containing general information and links);
https://www.txs.uscourts.gov/page/covid-19-general-and-special-orders (containing
special and general orders).
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